Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 1 of 10
Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 2 of 10
Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 3 of 10
Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 4 of 10
Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 5 of 10
Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 6 of 10
Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 7 of 10
Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 8 of 10
Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 9 of 10
Case 2:20-cv-01384-WSS Document 7-6 Filed 09/15/20 Page 10 of 10
